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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 1:21-cv-21079-BB
Securities and Exchange Commission , Plaintiff

VS.

MintBroker International, Ltd, and Guy Gentile ; Defendant

 

CONSENT BY PRO SE LITIGANT (NON-PRISONER) TO RECEIVE
NOTICES OF ELECTRONIC FILING

I, Guy Gentile am a pro se litigant (non-prisoner) and consent to

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receive notices electronically in the above case. In doing so, I consent to the Court and opposing
counsel using my email address, as listed below, for the purpose of sending me electronic
notification of orders, notices, and other documents that are filed in my case. I understand that
hard (paper) copies will no longer be sent by the Court or opposing counsel. By consenting to
electronic notice, I understand that I am responsible for maintaining a current email address

with the Court. I hereby certify that:

 

| | have provided and will maintain a current email address and mailing address with the
Court. I will file a Notice of Change of Address Form conventionally (i.e., mail or in
person) immediately if my email or mailing address changes while the above case is
pending. (The Notice of Change of Address Form can be found under the Pro Se Section
of the Court’s website@ www.flsd.uscourts.gov.)

 

 

 

 

’| | am responsible for maintaining an email account sufficient to receive notifications, on a
daily basis, from the Court and opposing counsel. I also understand that electronic mail
filter software (SPAM filters) may interfere with my receipt of email notifications and
will ensure that any such software installed on my computer or network will not filter out
messages from cmecfautosender@flsd.uscourts.gov.

 

 

 

 

t/| I am responsible for managing my email account and am responsible for others who
many have access to my email account.

 

 

 

| I have already registered or will immediately register for a PACER account (Public
Access to Court Electronic Records). I understand I will not receive any notices via
email until I have a PACER account. (To register for an account or for additional
information see the Pro Se Section on the Court’s website at www. flsd.uscourts.gov or go
to www.pacer. gov.)

 
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| I understand that when documents are entered in CM/ECF, a Notice of Electronic Filing
(NEF) will be sent to my email address, which will contain a hyperlink to the document
in PACER. I also understand that pursuant to PACER’s policy, I will be allowed one
“free look” at the document and that it is recommended that I print or download the
document at that time because after the one “free look”, normal PACER fees will apply.
I also understand that the hyperlink to access the document will expire after I first access
the document or after 15 days, whichever comes first.

 

 

 

 

| I am responsible for maintaining my PACER account while the above case is pending,
including any incurred fees. (Note: Most PACER users do not accrue enough charges to
actually pay any fees).

 

 

 

 

 

 

| | understand and will comply with the following computer hardware and software
requirements necessary to receive electronic notices via the CM/ECF system: Windows
or Macintosh operation system; Javascript enabled browser; and Internet Explorer or
Firefox browser supported by CM/ECF (See Pro Se Section on Court’s website at
www.flsd.uscourts.gov for browser information). I also understand that high speed
internet access is strongly recommended over dial-up internet service, which will reduce
the amount of time to download lengthy documents.

 

I further understand that receiving of Notices of Electronic Filings (NEF) is a privilege,
not a right, and may be rescinded by the Court at any time, without notice, at which time notices

will be provided via the U.S mail.
Wherefore, the undersigned hereby agrees to the above conditions and elects to

electronically receive Notices of Electronic Filing (NEF) to the email address listed below while

the above case is pending.

Date: Oct 5 2021

 

Si gnaturg of Pro se Lafigant (Non-Prisoner)

Email Address: guygentile@outlook.com
Street Address: 103 Ave De Diego, $2202
City, State, Zip Code: San Juan, PR 00911
Telephone No: 787-363-7833

 

 

 
